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lN THE UNITED STATES DISTRICT COURT FOR TI-IE

NORTHERN DISTRICT OF FLORIDA
PENSACOLA DIVISION

UNITED STATES OF AMERICA

VS.

Case No. 3:18mj256

JOSEPH MALDONADO-PASSAGE

 

I, JOSEPH MALDONADO-PAS SAGE, understand that in the Western District

of Oklahoma, charges are pending alleging a charge of 18 U.S.C. §§ l958(a), and that

I have been arrested in this District and taken before a United States Magistrate

Judge, who informed me of the charge and of my rights to:

(l)

(2)

(3)

(4)

(5)

retain counsel or request the assignment of counsel if I am
unable to retain counsel,

request transfer of the proceedings to this district pursuant
to Rule 5, Fed.R.Crim.P., in order to plead guilty,

an identity hearing to determine if I am the person named in the charge,
and

a preliminary examination (unless an indictment has been
returned or an information filed) to determine whether
there is probable cause to believe an offense has been
committed by me, the hearing to be held either in this
district or the district of prosecution.

a detention hearing, the hearing to be held either in this district or the
district
of prosecution

I HEREBY WAIVE (GIVE UP) MY RIGHT TO A(N):

E/ identity hearing

 

 

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E| preliminary hearing (if entitled to such hearing)

El preliminary hearing but request a preliminary examination to be held in
the prosecuting district

E|/ detention hearing but request a detention hearing to be held in the
prosecuting district, and, therefore, consent to remain in custody to be
transported to the prosecuting district where the charge is pending

 

 

against me.
JosEPHMALDoNADo-PASSAGE
mr M
September 7, 2018 Counsel for the Defendant

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